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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

LADELL SNOWDEN,                                   :
    Petitioner                                    :            No. 1:21-cv-01855
                                                  :
                v.                                :            (Judge Kane)
                                                  :
COMMONWEALTH                                      :
OF PENNSYLVANIA, et al.,                          :
     Respondents                                  :

                                             ORDER

       AND NOW, on this 3rd day of December, 2021, upon consideration of the petition (Doc.

No. 1) for writ of habeas corpus, and for the reasons set forth in the accompanying

memorandum, IT IS ORDERED THAT:

       1.       The petition (Doc. 1) for writ of habeas corpus is DISMISSED WITHOUT
                PREJUDICE;

       2.       A certificate of appealability shall not issue; and

       3.       The Clerk of Court is directed to CLOSE this case.



                                                               s/ Yvette Kane
                                                               Yvette Kane, District Judge
                                                               United States District Court
                                                               Middle District of Pennsylvania
